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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

ALVIN MCCULLOUGH,                                                                     PLAINTIFF
ADC #131910

v.                                  4:20-cv-00912-KGB/JTK

WENDY KELLEY, et al.                                                              DEFENDANTS

                                             ORDER

       The Court has received proposed findings and recommendations from United States

Magistrate Judge Jerome T. Kearney (Dkt. No. 3).      Plaintiff Alvin McCullough has not objected

to the proposed findings and recommendations, and the time for filing objections has passed.

After careful consideration, the Court concludes that the proposed findings and recommendations

should be, and hereby are, adopted in their entirety as this Court’s findings in all respects (Id.).

The Court dismisses without prejudice Mr. McCullough’s complaint for failure to prosecute.

       It is so ordered this 21st day of October, 2020.



                                                             _____________________________
                                                             Kristine G. Baker
                                                             United States District Judge
